907 F.2d 158
    Unpublished DispositionNOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Cesar A. CORIA, Petitioner,v.OFFICE OF PERSONNEL MANAGEMENT Respondent.
    No. 90-3059.
    United States Court of Appeals, Federal Circuit.
    June 15, 1990.
    
      Before PAULINE NEWMAN and MAYER, Circuit Judges, and GARRETT E. BROWN, Jr., Disrict Judge*.
      Judgment
      PER CURIAM.
    
    
      1
      AFFIRMED.  See Fed.Cir.R. 36.
    
    
      
        *
         The Honorable Garrett E. Brown, Jr., United States District Court for the District of New Jersey, sitting by designation
      
    
    